               Case 2:23-cr-00001-PLM ECF No. 1, PageID.1 Filed 12/21/22 Page 1 of 1
AO 91 (Rev. 11/11) Criminal Complaint


                                     UNITED STATES DISTRICT COURT
                                                                 for the
                                                Western District
                                              __________ Districtofof
                                                                    Michigan
                                                                      __________

                  United States of America                          )
                             v.                                     )
        RAMOND JAMAL BRODEN, a/k/a "Chris"
                                                                    )      Case No. 2:22-mj-00067
                                                                    )
                                                                    )
                                                                    )
                                                                    )
                          Defendant(s)


                                              CRIMINAL COMPLAINT
         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of               December 15, 2022                 in the county of                   Kent       in the
     Western           District of         Michigan             , the defendant(s) violated:

            Code Section                                                      Offense Description
21 U.S.C. § 841(a)(1)                        Possession with intent to distribute methamphetamine.
21 U.S.C. § 841(b)(1)(C)




         This criminal complaint is based on these facts:
See attached.




         ✔ Continued on the attached sheet.
         u

The Court processed the complaint remotely. The Court
verified the Affiant's identity (by AUSA confirmation and
                                                                                               Complainant’s signature
through Affiant self-identification). Affiant attested to the
affidavit and complaint via telephone, which the AUSA                                          S.A. Joshua Filz, HSI
transmitted by remote electronic means (e-mail). The Court
                                                                                                Printed name and title
signed the original complaint and transmitted a correct copy
of same to the Applicant, via the AUSA, by remote electronic
means (e-mail). The process complied with Rules 3 and 4.1.


Date:      Dec 21, 2022
                                                                                          Judge’s signature

City and state:       Grand Rapids, Michigan                                 Phillip J. Green, U.S. Magistrate Judge
                                                                                                Printed name and title
